                    Case 18-20114       Doc 40     Filed 10/21/19     Page 1 of 2


                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                      Greenbelt Division

IN RE:                                            Case No. 18-20114-LSS
ERNEST E. WATKINS
       Debtor                                     Chapter 7
_______________________________
SPECIALIZED LOAN SERVICING LLC
       Movant
v.
ERNEST E. WATKINS
       Debtor/Respondent
and
GARY A. ROSEN
       Trustee/Respondent
______________________________________________________________________________

             NOTICE OF DEFAULT AND TERMINATION OF AUTOMATIC STAY

       Please take notice that Ernest E. Watkins (the “Debtor”) and Gary A. Rosen (the “Trustee”)
failed to comply with the terms of the Agreed Order (the “Agreed Order”) entered January 02, 2019.
The Trustee failed to obtain a contract of sale by May 31, 2019 and/or failed to settle 30 days from May
31, 2019.
       Pursuant to Paragraphs 2 and 3 of the Agreed Order, the Automatic Stay TERMINATED
without further notice to the Debtor. Notice is hereby given that the Movant intends to initiate//resume
foreclosure proceedings on the real property and improvements thereon known as 1816 Meridian
Drive, Hagerstown, MD 21742.

                                                    Respectfully Submitted,

Dated: October 21, 2019
                                                    Nikita Joshi, Esq., Fed. Bar No. 19720
                                                    BWW Law Group, LLC
                                                    6003 Executive Blvd, Suite 101
                                                    Rockville, MD 20852
                                                    301-961-6555 (p), 301-961-6545 (f)
                                                    bankruptcy@bww-law.com
                                                    Attorney for the Movant




                                                                                          BWW#:MD-344481
                     Case 18-20114       Doc 40     Filed 10/21/19    Page 2 of 2


                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of October, 2019, I reviewed the Court's CM/ECF system
and it reports that an electronic copy of the foregoing Notice of Default and Termination of Automatic
Stay will be served electronically by the Court's CM/ECF system on the following:

Gary A. Rosen, Trustee

B. Andrew Bright, Esq.

L. Jeanette Rice, Office of the U.S. Trustee

       I hereby further certify that on this 21st day of October, 2019, a copy of the foregoing Notice of
Default and Termination of Automatic Stay was also mailed first class mail, postage prepaid, to:

Ernest E. Watkins
20014 Rosebank Way, Apt. 348
Hagerstown, MD 21742




                                                     Nikita Joshi, Esq.




                                                                                           BWW#:MD-344481
